






MEMORANDUM OPINION




Nos. 04-07-00064-CR &amp; 04-07-00065-CR



Odis WILEY,


Appellant



v.



The STATE of Texas,


Appellee



From the 226th Judicial District Court, Bexar County, Texas


Trial Court Nos. 2006-CR-6397 &amp; 2006-CR-9207W


Honorable Sid L. Harle, Judge Presiding



PER CURIAM


Sitting:	Alma L. López, Chief Justice

		Catherine Stone, Justice

		Karen Angelini, Justice


Delivered and Filed:	February 28, 2007


DISMISSED

	The trial court's certification in each of these appeals states that the case is a "plea-bargain
case, and the defendant has NO right of appeal."  Rule 25.2(d) of the Texas Rules of Appellate
Procedure provides, "[t]he appeal must be dismissed if a certification that shows the defendant has
a right of appeal has not been made part of the record under these rules."  Tex. R. App. P. 25.2(d). 

	Appellant's counsel has filed written notice with this court that counsel has reviewed the
records and "can find no right of appeal for Appellant."  We construe this notice as an indication that
appellant will not seek to file an amended trial court certification showing that he has the right of
appeal.  See Tex. R. App. P. 25.2(d); 37.1; see also Daniels v. State, 110 S.W.3d 174, 177 (Tex.
App.--San Antonio 2003, no pet.).  In light of the records presented, we agree with appellant's
counsel that Rule 25.2(d) requires this court to dismiss the appeals.  Accordingly, the appeals are
dismissed.

							PER CURIAM

DO NOT PUBLISH




